Case: 4:24-cr-00309-MTS-SRW                     Doc. #: 59         Filed: 08/13/24         Page: 1 of 3 PageID
                                                     #: 102



                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

UNITED STATES OF AMERICA,                                  )
                                                           )
                  Plaintiff,                               )
                                                           )
            v.                                             )     Case No. 4:24-cr-00309-2-MTS
                                                           )
HAEDER JAMEEL,                                             )
                                                           )
                  Defendant.                               )

                                                      ORDER

         This matter comes before the Court on Defendant Haeder Jameel’s Motion to Review

Magistrate’s Order of Detention. Defendant seeks review of United States Magistrate Judge John

M. Bodenhausen’s Order of Detention, Doc. [48], pursuant to 18 U.S.C. § 3145(b). 1 Based upon

the record before the Court, the Motion will be denied.

         A defendant may be detained before trial “[o]nly if the government shows by clear and

convincing evidence that no release condition or set of conditions will reasonably assure the safety

of the community and by a preponderance of the evidence that no condition or set of conditions. . .

will reasonably assure the defendant’s appearance.” See United States v. Kisling, 334 F.3d 734,

735 (8th Cir. 2003) (quoting United States v. Orta, 760 F.2d 887, 891 n.20 (8th Cir. 1985) (en banc)

(emphasis in original)); see also 18 U.S.C. § 3142(c), (e)-(f). A finding on either ground constitutes

a sufficient basis for detention. United States v. Williams, 4:20-cr-00348-SRC, ECF No. 30 at *4

(E.D. Mo. Sept. 15, 2020) (citing United States v. Payne, 660 F. Supp. 288, 290-91 (E.D. Mo.

1987)). In determining whether there are conditions of release that will reasonably assure the



1
  Under 18 U.S.C. § 3145(b), “If a person is ordered detained by a magistrate judge, . . . the person may file, with the
court having original jurisdiction over the offense, a motion for revocation or amendment of the order. The motion
shall be determined promptly.”
Case: 4:24-cr-00309-MTS-SRW              Doc. #: 59      Filed: 08/13/24      Page: 2 of 3 PageID
                                              #: 103



defendant’s appearance in court and the safety of the community, this Court looks to 18 U.S.C. §

3142(g), which provides that the Court “will take into account the available information

concerning,” 1) the nature and circumstances of the offense charged, 2) the weight of the evidence

against the person, 3) the history and characteristics of the person, including the person’s character,

physical and mental condition, family ties, employment, financial resources, length of residence in

the community, community ties, past conduct, history relating to drug or alcohol abuse, criminal

history, and record concerning appearance at court proceedings; and whether, at the time of the

current offense or arrest, the person was on probation, on parole, or on other release pending trial,

sentencing, appeal, or completion of sentence for an offense under Federal, State, or local law, and

4) the nature and seriousness of the danger to any person or the community that would be posed by

the defendant’s release.

       On June 20, 2024, a grand jury returned an indictment against Defendant for conspiracy to

possess with the intent to distribute controlled substances, maintaining a premises for the purpose

of manufacturing and distributing a controlled substance, possession with intent to distribute

MDMA and fentanyl, and possession of a firearm in furtherance of drug trafficking crimes. The

charges carry a rebuttable presumption of detention under 18 U.S.C.§ 3142(e)(3). The Government

filed a Motion for Pretrial Detention and Hearing, Doc. [6]. The detention hearing was held July

19, 2024. After hearing the arguments of the parties and taking the matter under submission, the

magistrate judge issued an Order of Detention Pending Trial, Doc. [43]. Although concluding that

Defendant had presented sufficient evidence to rebut the presumption of detention, after considering

the other factors under 18 U.S.C. § 3142(g), the magistrate judge found that detention was

warranted due to the weight of the evidence against Defendant, the lengthy period of incarceration

if Defendant were convicted, Defendant’s history of violence, use of weapons, alcohol/substance

abuse, lack of stable employment, significant family ties outside the United States, and prior

                                                  2
Case: 4:24-cr-00309-MTS-SRW                     Doc. #: 59         Filed: 08/13/24         Page: 3 of 3 PageID
                                                     #: 104



attempts to evade law enforcement.

         Defendant subsequently filed a Motion to Review Magistrate’s Order of Detention and

Request for Hearing. Doc. [48]. On August 13, 2024, this Court held a hearing on the matter and

took the Motion under submission. The Court has closely considered the evidentiary record and

arguments of counsel. After conducting a de novo review of the entire record, including the audio

recording of the detention hearing, the Court finds that the Government has proven by clear and

convincing evidence that no condition or combination of conditions of release will reasonably

assure the safety of any other person and the community, and by a preponderance of the evidence

that no condition or combination of conditions of release will reasonably assure Defendant’s

appearance. The Court further finds that United States Magistrate Judge John M. Bodenhausen

properly considered and weighed all factors, both for and against Defendant’s detention, including:

1) the nature and circumstances of the offense charged; 2) the weight of the evidence against

Defendant; 3) Defendant’s history and characteristics; and 4) the nature and seriousness of the

danger to any person or the community that would be posed by Defendant’s release.

         Accordingly,

         IT IS HEREBY ORDERED that the Court denies Defendant’s Motion to Review

Magistrate’s Order of Detention, Doc. [48], reaffirms the Magistrate Judge’s Order of Detention,

Doc. [43], and adopts the same as its own findings and conclusions on the matter. 2


         Dated this 13th day of August, 2024.


                                                           MATTHEW T. SCHELP
                                                           UNITED STATES DISTRICT JUDGE


2
 If after review of the same record and factual findings, the district court agrees fully with a magistrate judge’s order
and reasons, it may adopt the order. United States v. Cook, 87 F4th 920, 924-25 (8th Cir. 2023) (citations omitted).
Adopting a magistrate judge’s decision “‘obviate[s] the need for the district court to prepare its own written findings
of fact and statement of reasons.’” Id. (quoting United States v. King, 849 F.2d 485, 490 (11th Cir. 1988)).
                                                           3
